          Case 1:21-cr-00216-JDB Document 88 Filed 04/25/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :      CRIMINAL NO. 21-cr-00216 (JDB)
               v.                             :
                                              :
LEO BRENT BOZELL IV,                          :
                                              :
                       Defendant.             :


    CONSENT MOTION TO EXTEND TIME TO FILE SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this consent motion to extend the parties’ deadlines

to submit sentencing memorandum by seven days, to and including May 3, 2024. If the Court

grants this consent motion, it would necessarily require a short continuance of the sentencing date,

which is currently scheduled for May 2, 2024. 1 Counsel for the defendant consents to this request.

       Good cause supports this request. As noted in the Final PSR filed on April 25, 2024, ECF

No. 86 at 29, the defendant’s convictions on Counts Two and Three implicate the application of

U.S.S.G. § 3A1.4(a), which provides a substantial increase in offense level and criminal history

category “if [the defendant’s] offense is a felony that involved, or was intended to promote” a

federal crime of terrorism as defined in 18 U.S.C. § 2332b(g)(5). The potential application of this

adjustment appropriately necessitates considerable review. To ensure adequate time for necessary

review and approvals, undersigned counsel respectfully requests an extension of time of one week


1
 Undersigned counsel is scheduled to be in trial before Judge Walton on the week of May 6,
2024. However, undersigned counsel is available for sentencing in this matter the week of May
13, 2024.
          Case 1:21-cr-00216-JDB Document 88 Filed 04/25/24 Page 2 of 2




for the parties to file the sentencing memorandum. The parties are prepared to provide availability

for sentencing in May 2024.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Ashley Akers
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